AO 120 (Rev. 08/10)
TO:                     Mail Stop 8
                Case 2:19-cv-13062-WBV-KWR                                REPORT ON
                                                        Document 6 Filed 12/02/19   THE
                                                                                  Page 1 of 1
       Director of the U.S. Patent and Trademark Office          FILING OR DETERMINATION OF AN
                         P. O. Box 1450
                                                                 ACTION REGARDING A PATENT OR
                  Alexandria, VA 22313-1450
                                                                                                        TRADEMARK
                       In Compliance with 35 § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court      Eastern District of Louisiana        on the following
x
Tr
   Trademarks or               ☐ Patents.                 ( ☐ the patent action involves 35 U.S.C § 292.):
DOCKET NO.                     DATE FILED                         U.S. DISTRICT COURT
        19-13062]                          10/8/2019]             Eastern District of Louisiana, 500 POYDRAS St., Rm C-151, New Orleans, LA 70130
PLAINTIFF                                                                  DEFENDANT
 MORRIS BART AND MORRIS BART, LLC                                            CORY WATSON, P.C.



        PATENT OR                       DATE OF PATENT
                                                                                       HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK
1          2,400,003                       10/31/2000                                                 Morris Bart, LLC

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                      In the above—entitled case, the following patent(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                        □   Amendment          □   Answer         □   Cross Bill         □   Other Pleading
        PATENT OR                       DATE OF PATENT
                                                                                       HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgment issued:
DECISION/JUDGMENT
 12/2/19-ORDERED that the motion to dismiss is granted. FURTHER ORDERED that the action is dismissed without prejudice.




CLERK                                                       (BY) DEPUTY CLERK                                            DATE
                WILLIAM W. BLEVINS                                                                                              December 2, 2019


Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
